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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO.: 1:21-CV-22828 –WILLIAMS/MCALILEY

 ERNESTO DIAZ,

        Plaintiff,

 vs.

 A & Y GPR SERVICE CORP,
 CONSTRUCTION SOLUTIONS PRODUCTS, INC.,
 ARISLEIDY HERNANDEZ, and
 ERIX L. ROBAINAS SERRANO,

       Defendant.
 ______________________________/
             PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES

        Plaintiff, Ernesto Diaz, identifies the following persons and entities with an interest in the

 outcome of this action, as follows:

 1.     The name of each person, attorney, association of persons, firm, law firm,
        partnership, and corporation that has or may have an interest in the outcome
        of this action — including subsidiaries, conglomerates, affiliates, parent
        corporations, publicly-traded companies that own 10% or more of a party’s
        stock, and all other identifiable legal entities related to any party in the case:

        a)      Ernesto Diaz – Plaintiff;

        b)      Brian H. Pollock, Esq. – counsel for Plaintiff;

        c)      Law Office of Brian H. Pollock, P.A. d/b/a FairLaw Firm – counsel for Plaintiff;

        d)      A & Y GPR Service Corp– Defendant;

        e)      Construction Solutions Products, INC – Defendant;

        f)      Arisleidy Hernandez – Defendant;

        g)      Erix L. Robainas Serrano – Defendant;

        h)      Salvatore J. Sicuso, Esq. – counsel for Defendant;
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        i)      Law Office of Salvatore J. Sicuso, P.A. d/b/a Sacuso Law Firm – counsel for

                Defendant.

 2.     The name of every other entity whose publicly-traded stock, equity, or debt
        may be substantially affected by the outcome of the proceedings:

                None known to Plaintiff.

 3.     The name of every other entity which is likely to be an active participant in
        the proceedings, including the debtor and members of the creditors’
        committee (or twenty largest unsecured creditors) in bankruptcy cases:

                None known to Plaintiff.

 4.     The name of each victim (individual or corporate) of civil and criminal
        conduct alleged to be wrongful, including every person who may be entitled
        to restitution:

                Plaintiff, Ernesto Diaz.

 5.     Check one of the following:

         _X__ I certify that I am unaware of any actual or potential conflict of interest involving the
 District Judge and Magistrate Judge assigned to this case, and will immediately notify the Court in
 writing on learning of any such conflict.

                               -or-

       ____ I certify that I am aware of a conflict or basis of recusal of the District Judge or
 Magistrate Judge as follows: (explain)

        Dated this 24th day of September 2021.

                                                        Respectfully submitted,

                                                        Brian H. Pollock, Esq.
                                                        Brian H. Pollock, Esq. (174742)
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                                                        Counsel for Plaintiff
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